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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-cv-61991-BLOOM/Valle

 SECURITIES AND EXCHANGE COMMISSION,

                Plaintiff,
 v.

 1 GLOBAL CAPITAL LLC, and
 CARL RUDERMAN,

                Defendants, and

 1 WEST CAPITAL LLC,
 BRIGHT SMILE FINANCING, LLC,
 BRR BLOCK INC.,
 DIGI SOUTH, LLC,
 GANADOR ENTERPRISES, LLC,
 MEDIA PAY LLC,
 PAY NOW DIRECT LLC, and
 RUDERMAN FAMILY TRUST,

                Relief Defendants.
                                                             /

          ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
      MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 October 28, 2019, at 9:00 a.m. Calendar call will be held at 1:45 p.m. on Tuesday, October

 22, 2019. No pre-trial conference will be held unless a party requests one at a later date and the

 Court determines that one is necessary. Unless instructed otherwise by subsequent order, the

 trial and all other proceedings in this case shall be conducted in Courtroom 10-2 at the Wilkie

 D. Ferguson, Jr. United States Courthouse, 400 North Miami Avenue, Miami, FL 33128.

 The parties shall adhere to the following schedule:

 October 16, 2018        Parties exchange initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1).
                         The parties are reminded that pursuant to S.D. Fla. L.R. 26.1(b), initial
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                            disclosures shall not be filed with the Court unless an exception noted in
                            the Local Rules applies.

 October 23, 2018           The parties shall select a mediator pursuant to Local Rule 16.2, shall
                            schedule a time, date, and place for mediation, and shall jointly file a
                            notice, and proposed order scheduling mediation via CM/ECF in the
                            form specified on the Court’s website, http://www.flsd.uscourts.gov. If
                            the parties cannot agree on a mediator, they shall notify the Clerk in
                            writing as soon as possible, and the Clerk shall designate a certified
                            mediator on a blind rotation basis. Counsel for all parties shall
                            familiarize themselves with and adhere to all provisions of Local Rule
                            16.2. Within three (3) days of mediation, the parties are required to file
                            a mediation report with the Court. Pursuant to the procedures outlined in
                            the CM/ECF Administrative Procedures, the proposed order is also to
                            be emailed to bloom@flsd.uscourts.gov in Word format.

 December 1, 2018           All motions to amend pleadings or join parties are filed.

 June 4, 2019               Parties disclose experts and exchange expert witness summaries or
                            reports.

 June 18, 2019              Parties exchange rebuttal expert witness summaries or reports.

 July 2, 2019               All discovery, including expert discovery, is completed.

 July 16, 2019              Parties must have completed mediation and filed a mediation report.

 July 24, 2019              All pre-trial motions and Daubert motions (which include motions to
                            strike experts) are filed. This deadline includes all dispositive motions.

 October 14, 2019           Parties submit joint pre-trial stipulation in accordance with Local Rule
                            16.1(e), proposed jury instructions and verdict form, or proposed findings
                            of fact and conclusions of law, as applicable, and motions in limine (other
                            than Daubert motions). Each party is limited to filing one motion in
                            limine. If all evidentiary issues cannot be addressed in a 20-page
                            memorandum, leave to exceed the page limit will be granted. The
                            parties are reminded that motions in limine must contain the Local
                            Rule 7.1(a)(3) certification.

        Daubert Motions. Each party is limited to filing one Daubert motion. If all evidentiary

 issues cannot be addressed in a 20-page memorandum, leave to exceed the page limit will be

 granted. The parties are reminded that Daubert motions must contain the Local Rule

 7.1(a)(3) certification.




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        Summary Judgment Motions. The parties are reminded that strict compliance with

 Local Rule 56.1 is mandated. Pursuant to Local Rule 56.1(a)(2), a statement of material facts

 must be supported by specific references to pleadings, depositions, answers to interrogatories,

 admissions, and affidavits on file with the Court. In the event a responding party fails to

 controvert a movant’s supported material facts in an opposing statement of material facts, the

 movant’s material facts will be deemed admitted. Local Rule 56.1(b). In the interest of

 judicial economy, in the interest of proper and careful consideration of each party’s statement

 of material facts, and in the interest of determining matters on summary judgment on the

 merits, the Court orders the parties to file any statements of material facts as follows:

             1. The moving party shall file a statement of material facts as a separate filing

                from a motion for summary judgment.

             2. Each material fact in the statement that requires evidentiary support shall be

                set forth in an individually numbered paragraph and supported by a specific

                citation. This specific citation shall reference pages (and paragraph or line

                numbers, if applicable) of the cited exhibit(s). When a material fact requires

                evidentiary support, a general citation to an exhibit, without a page

                number or pincite, is not permitted.

             3. Each exhibit referenced in the motion for summary judgment and/or in the

                statement of material facts must be filed on the docket. Exhibits which have

                already been filed on the docket need not be refiled. If a deposition transcript

                is referenced, a complete copy must be filed which includes all exhibits.

                Within twenty-four (24) hours of filing a motion for summary judgment, the




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             movant shall separately file an index of the cited exhibits which names each

             exhibit and references the docket entry at which that exhibit may be found.

          4. The responding party may file an opposing statement of material facts which

             responds to the moving party’s statement of material facts. A responding

             party’s opposing statement of material facts must specifically respond to each

             statement in the movant’s statement by setting forth each of the individually

             numbered paragraphs contained in the movant’s statement and after each

             paragraph, detail respondent’s response or opposition. By way of example:

             Movant’s Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.

             Respondent’s Opposing Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.
                Admitted that Blackacre is located at 123 Main Street. Exhibit A ¶ 1.
                Denied that the property is vacant. Exhibit C at 5.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.
                Denied as phrased. Admitted that the last recorded deed to Blackacre
                names John Smith. Exhibit B ¶ 12.

          5. Each exhibit referenced in the response to the motion for summary judgment

             and/or in the opposing statement of material facts must be filed on the docket.

             Exhibits which have already been filed on the docket need not be refiled. If a

             deposition transcript is relied upon, a complete copy must be filed which

             includes all exhibits. Within twenty-four (24) hours of filing a response to

             the motion for summary judgment, the responding party shall separately file




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                an index of the cited exhibits which names each exhibit and references the

                docket entry at which that exhibit may be found.

            6. In the event that cross motions for summary judgment are filed, the Court may

                order the parties to submit a consolidated statement of material facts and

                responses as appropriate. If cross motions are anticipated, the parties may

                jointly move for an order to file consolidated statements prior to filing the

                motions for summary judgment.

        Jury Instructions and Verdict Form. The parties shall submit their proposed jury

 instructions and verdict form jointly, although they need not agree on each proposed instruction.

 Where the parties do not agree on a proposed instruction, that instruction shall be set forth in

 bold type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed

 only by a defendant shall be italicized. Every instruction must be supported by citation to

 authority. The parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil

 Cases, including the directions to counsel contained therein. Proposed jury instructions and

 verdict form, in typed form, including substantive charges and defenses, shall be submitted to the

 Court prior to calendar call, in Word format, via e-mail to bloom@flsd.uscourts.gov.

 Instructions for filing proposed documents may be viewed at http://www.flsd.uscourts.gov.

        Referral to Magistrate Judge.         Pursuant to 28 U.S.C. § 636 and this District’s

 Magistrate Judge Rules, all discovery matters are referred to Judge Alicia O. Valle.

 Furthermore, pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final

 disposition by Judge Alicia O. Valle. The deadline for submitting consent is July 4, 2019.

        Discovery.    The parties may stipulate to extend the time to answer interrogatories,

 produce documents, and answer requests for admissions. The parties shall not file with the Court




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 notices or motions memorializing any such stipulation unless the stipulation interferes with the

 deadlines set forth above. Stipulations that would so interfere may be made only with the

 Court’s approval. See FED. R. CIV. P. 29. To the extent not abrogated or contradicted by this

 Order, all agreements and stipulations entered into between the parties prior to this Order

 continue to bind the parties. The Court reminds the parties that under the Local Rules, initial and

 expert disclosures; deposition transcripts; interrogatories; requests for documents, electronically

 stored information or things, or to permit entry upon land; requests for admission; notices of

 taking depositions or notices of serving subpoenas; and associated responses, objections, notices

 or any associated proof of service, shall not be filed until they are used in the proceeding or

 the court orders their filing. S.D. Fla. L. R. 26.1(b). Improper filings will be stricken from the

 record. In addition to the documents enumerated in Local Rule 26.1(b), the parties shall not file

 notices of deposition with the Court. The parties must make every effort to resolve discovery

 disputes without requiring Court intervention.       Strict compliance with the Local Rules is

 expected, particularly with regard to motion practice. See S.D. FLA. L.R. 7.1.

        Discovery Disputes. Judge Alicia O. Valle requires an expedited briefing schedule and

 shortened page limitation for discovery motions (which must contain the Local Rule 7.1(a)(3)

 certification of good faith conference) to prevent delay to the pretrial schedule. The parties shall

 file responses and replies to discovery motions no later than seven (7) days after a motion, or

 response, is filed. Any discovery motion and response, including the incorporated memorandum

 of law, shall not exceed ten (10) double-spaced pages. Any reply memoranda shall not exceed

 five (5) double-spaced pages. The Court may impose sanctions, monetary or otherwise, if it

 determines discovery is being improperly sought or is being withheld in bad faith.




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        DONE AND ORDERED in Chambers at Miami, Florida, this 2nd day of October, 2018.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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